Case 2:13-cv-13390-BAF-DRG ECF No. 11 filed 12/13/13                  PageID.41      Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN

CHERYL BESSER, individually and on behalf of
all others similarly situated,                               Case No. 2:13-cv-13390-BAF-DRG

                      Plaintiff,

       v.

CSB BANK,

                      Defendant.

                                     ORDER OF COURT

       AND NOW, this 13th day of December, 2013, upon consideration of the Parties’

Stipulation of Dismissal (Dkt. #10), IT IS HEREBY ORDERED that the above-captioned action

is dismissed with prejudice as to Plaintiff’s individual claims and dismissed without prejudice as

to the claims of any alleged class members.



       December 13, 2013



                                                     BY THE COURT:


                                                     s/ Bernard A. Friedman
                                                     Bernard A. Friedman,
                                                     U. S. DISTRICT COURT JUDGE
